                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:17-cr-11-HSM-SKL
v.                                                 )
                                                   )
JAMES M. JOHNSON                                   )
                                                   )

                                          ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the one-count

Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; and (4) find Defendant

shall remain in custody until sentencing in this matter [Doc. 62]. Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with the

magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

the magistrate judge’s report and recommendation [Doc. 62] pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

       is GRANTED;

       (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

       Indictment;

       (4)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on October 23, 2017 at 9:00 a.m. [EASTERN] before the

       Honorable Harry S. Mattice, Jr.



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      SO ORDERED.

      ENTER:



                                        /s/ Harry S. Mattice, Jr._______
                                        HARRY S. MATTICE, JR.
                                     UNITED STATES DISTRICT JUDGE




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